              Case 2:11-cr-00190-KJM Document 432 Filed 07/31/20 Page 1 of 2
                                                                     PRO HAC VICE APPLICATION,
                                                                   ECF REGISTRATION AND CONSENT
 UNITED STATES DISTRICT COURT                                          TO ELECTRONIC SERVICE,
EASTERN DISTRICT OF CALIFORNIA                                            PROPOSED ORDER




   UNITED STATES OF AMERICA,
                                  Plaintiff(s),     Case No. 2:11-CR-0190 MCE

  v.
  NICHOLAS RAMIREZ,

                                  Defendant(s).


         I,     Barbara Butterworth, attorney for    NICHOLAS RAMIREZ           ,

 hereby petition for admission to practice Pro Hac Vice under the provision of Local Rule

 180(b)(2). I understand and consent to ECF Registration and Electronic Service as detailed

 below and I have submitted payment in the amount of $225.00 to the Clerk, U.S. District Court.

 In support of this petition, I state under penalty of perjury that:

         My business address is:

 Firm Name:               Finnegan, Henderson, Farabow, Garrett & Dunner, LLP
 Address:                 901 New York Ave. NW
                          _________________________________________________________
 City:                    Washington, DC 20001
 State:                   DC ZIP Code: 20001
 Voice Phone:              (202)_408-6090
 FAX Phone:                (202)_408-4400
 Internet E-mail:         Barbara.butterworth@finnegan.com
 Additional E-mail:       Catherine.sadler@finnegan.com
 I reside in City:        Falls Church State: VA


         I was admitted to practice in the District of Columbia (court) on January 5, 1998 (date).

 I am presently in good standing and eligible to practice in said court. A certificate of good

 standing from the court in my state of primary practice is attached to this application. I am not

 currently suspended or disbarred in any other court.
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       I have  / have not  concurrently or within the year preceding this application made

a pro hac vice application to this court. (If you have made a pro hac vice application to this

court within the last year, list the name and case number of each matter in which an

application was made, the date of application and whether granted or denied.)

___________________________________________________________________________

___________________________________________________________________________

                                                                                                 .

       I hereby designate the following member of the Bar of this Court who is registered for

ECF with whom the Court and opposing counsel may readily communicate regarding the

conduct of the case and upon whom electronic notice shall also be served via the court's ECF

system:

Name:        Morgan Smith
Firm Name:   Finnegan, Henderson, Farabow, Garrett & Dunner, LLP
Address:     Stanford Research Park, 3300 Hillview Avenue
             _______________________________________________________________
City:        Palo Alto
State:       CA ZIP Code: 94304
Voice Phone: (650)_849-6665
FAX Phone: (650) 849-6666
E-mail:     morgan.smith@finnegan.com


Dated: July 13, 2020                  Petitioner: /s/ Barbara Butterworth



                                             ORDER

       IT IS SO ORDERED.

Dated: July 30, 2020
